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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS

 JOHN DOE,
                  Plaintiff
           v.                                          Civil Action No: 1:19-cv-11626-DPW

 TRUSTEES OF BOSTON COLLEGE,
                  Defendant

                          DECLARATION OF ELIZABETH H. KELLY

          I, Elizabeth H. Kelly, declare as follows:

          1.     I am a member of the bar of the Commonwealth of Massachusetts and Senior

Counsel in the law firm Locke Lord LLP. I am co-counsel of record for the defendant, Trustees

of Boston College, in this case.

          2.     I make this declaration in support of Defendant’s Motion to Dismiss Plaintiff’s

Complaint for the purpose of transmitting to the Court true and correct copies of the following

documents (after replacing the identities of the plaintiff and the complainant with pseudonyms

and redacting other personally identifiable information about them):

          3.     Exhibit A is a copy of Boston College’s 2018-2019 Student Sexual Misconduct

Policy.

          4.     Exhibit B is a copy of Section 5 of the 2018-2019 Student Guide.

          5.     Exhibit C is a copy of Section 4 of the 2018-2019 Student Guide.

          6.     Exhibit D is a redacted copy of the investigation report pertaining to the

complaint against Doe. An unreacted copy previously was filed under seal and is available at

Dkt. No. 20-1.

          7.     Exhibit E is a redacted copy of Doe’s June 27, 2019 appeal letter. An unredacted

copy previously was filed under seal and is available at Dkt. No. 13-06.


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        8.     Exhibit F is a redacted copy of the July 24, 2019 letter denying Doe’s appeal. An

unredacted copy previously was filed under seal and is available at Dkt. No. 13-07.

        I declare under the penalty of perjury that the foregoing is true and correct.

        Executed on October 18, 2019, in Boston, Massachusetts.


                                               /s/ Elizabeth H. Kelly
                                               Elizabeth H. Kelly (BBO No. 672277)
                                                   liz.kelly@lockelord.com
                                               LOCKE LORD LLP
                                               111 Huntington Avenue
                                               Boston, MA 02199
                                               617.230.0100


                                       Certificate of Service

        I certify pursuant that on October 18, 2019, this document was filed through the
Electronic Case Filing System of the United States District Court for the District of
Massachusetts and will be served electronically by the Court to the Registered Participants
identified in the Notice of Electronic Filing.


                                                      /s/ Elizabeth H. Kelly
                                                      Elizabeth H. Kelly




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